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GENOVA & MALIN
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X

IN RE:                                                                 CHAPTER 7

DAVISON F. MOORE,                                                 CASE NO. 19-35714 (CGM)

                          Debtor(s)                               AMENDMENT OF
                                                                  SCHEDULE F
--------------------------------------------------------X

         The above named debtor(s) represent that an Order for Relief was entered on April 29,

2019, and that the schedules of debts and property have been duly filed with the petition herein;

that said schedules or debts and property are hereby amended by adding to Schedule F, the

following creditors, their addresses, when and where debt contracted, amount of claim, and

showing whether secured or unsecured:

                                                    AMOUNT             SECURED OR
NAME AND ADDRESS                                    OF CLAIM           UNSECURED

Crate & Barrel                                              $641.40          Unsecured
Attn: President                                                              (Acct end #0314)
1250 Techny Road
Northbrook, IL 60062
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                                         DECLARATION

I (we), DAVISON F. MOORE, certify under penalty of perjury that I(we) have read the

foregoing amended schedules consisting of 1 page(s), and that they are true and correct to the

best of my(our) knowledge, information and belief.

/s/ Davison F. Moore
DAVISON F. MOORE

PETITIONER


Executed on: July 17, 2019

______________________________________________________________________________
______________________________________________________________________________

                               CERTIFICATION OF SERVICE

       I, Michelle L. Trier, do hereby certify that on the 18th day of July, 2019, a copy of the

notice of first meeting of creditors was served upon the additional creditor being listed on this

amendment to the address shown.

Dated: July 18 2019

                                                      /s/ Michelle L. Trier
                                                      MICHELLE L. TRIER
